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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                           November 10, 2016
                  IN THE UNITED STATES DISTRICT COURT
                                                                            David J. Bradley, Clerk
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

CESAR CAYCHO,                 §
                              §
             Plaintiff,       §
                              §
VS.                           §               CIVIL ACTION NO. H-16-2246
                              §
GREAT AMERICAN INSURANCE CO., §
                              §
             Defendant.       §

                             ORDER OF DISMISSAL

      In accordance with the parties’ stipulation, (Docket Entry No. 7), this action is

dismissed with prejudice.

             SIGNED on November 10, 2016, at Houston, Texas.


                                            ______________________________________
                                                     Lee H. Rosenthal
                                               United States District Judge
